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                                                                                               DRAFT
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                                                                     February 19, 2025

BY ECF & FAX

The Honorable Alvin K. Hellerstein
United States District Court
Southern District of New York
United States Court House
500 Pearl Street
New York, NY 10007


Re:    United States v. Charlie Javice and Olivier Amar, 23 Cr. 251 (AKH)


Dear Judge Hellerstein:


J.P. Morgan Chase Bank, N.A. (“JPMC”) respectfully submits this letter motion to redact portions
of the February 4, 2025 hearing transcript in this matter. A table of JPMC’s proposed redactions
appears below, and a copy of the transcript with the proposed redactions is submitted herewith as
Exhibit A.

The redactions are necessary to protect the privacy of JPMC’s employees. “[C]ase law holds that
[an employee’s name] may be redacted where an employee is not a party to action in light of the
individual’s privacy interests.” Okla. Firefighters Pension & Ret. Sys. v. Musk, No. 22-CV-3026,
2024 WL 2305264, at *2 (S.D.N.Y. May 20, 2024).

Proposed Redactions:

 Page and Line Number
 26:5
 27: 21
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                                                                                           DRAFT
                    Hon. Alvin K. Hellerstein




                                                         Respectfully submitted,

                                                          /s/ Greg D. Andres
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cc: All counsel of record (via ECF)




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